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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
 Email Address




 Derik N. Lewis 219981
 VANTIS LAW FIRM, APC
 120 Vantis Dr Suite 300
 Aliso Viejo, CA 92656
 949-216-0935 Fax: 949-296-0935
 info@vantislaw.com




      Debtor appearing without attorney
      Attorney for Collin Gibellino
                                           UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 In re:                                                                      CASE NUMBER: 8:19-bk-12960-CB

 Collin Gibellino                                                            CHAPTER: 7



                                                                             NOTICE OF LODGMENT OF ORDER IN
                                                                             BANKRUPTCY CASE RE:
                                                                             Motion to Avoid Lien
                                                               Debtor(s)


PLEASE TAKE NOTE that the order titled ORDER GRANTING DEBTOR’S MOTION TO AVOID
LIEN was lodged on January 30, 2020 and is attached. This order relates to the motion which is
docket number 40.




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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          Debtor appearing without attorney
          Attorney for Collin Gibellino

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA
 In re:
                                                                               CASE NUMBER: 8:19-bk-12960-CB
               Collin Gibellino
                                                                               CHAPTER: 7


                                                                                   ORDER       GRANTING      DENYING
                                                                                DEBTOR'S MOTION TO AVOID LIEN UNDER
                                                                                   11 U.S.C.§ 522(f) (REAL PROPERTY)

                                                                                   No hearing held
                                                                                   Hearing held


                                                                               DATE: 1/28/2020
                                                                               TIME: 2:30 PM
                                                                               COURTROOM: 5D
                                                               Debtor(s).      PLACE: 411 W Fourth St., Santa Ana CA 92701:

 Creditor Holding Lien to be Avoided (name): LADERA RANCH MAINTENANCE CORPORATION



The Motion was:                    Opposed             Unopposed            Settled by stipulation

Pursuant to 11 U.S.C. § 522(f), Debtor moved to avoid a judicial lien on real property claimed to be exempt. The court
finds and orders as follows:

1.        Notice of this Motion complied with LBR 9013-1(d).

2.        Notice of this Motion complied with LBR 9013-1(o).

     a.     There was no opposition and request for hearing.
                   “Bankruptcy Code” and “11 U.S.C.” refer to the United States Bankruptcy Code, Title 11 of the United States Code.
              “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.
          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
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     b.      Hearing requested and held as indicated in the caption.

3.         Motion granted as set forth in the Attachment to this order.

4.         Motion denied on the following grounds:                           with prejudice               without prejudice

     a.      Insufficient notice
     b.      Insufficient evidence of the exempt status of the property in question
     c.      Failure to comply with FRBP 7004(b)(3) or FRBP 7004(h).
     d.      Insufficient evidence of fair market value.
     e.      Motion is incomplete.
     f.      Other (specify):

5.        The court further orders as follows (specify):

            See Attached Page

                                                                          ###




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                                     ATTACHMENT TO MOTION/ORDER
                  (11 U.S.C. § 522(f): AVOIDANCE OF REAL PROPERTY JUDICIAL LIENS)

This court makes the following findings of fact and conclusions of law:
1.      Creditor Lienholder/Servicer: LADERA RANCH MAINTENANCE CORPORATION

2.        Subject Lien: Date (specify): February 9, 2017; January 24, 2019; May 30, 2019 and place (specify): County of
          Orange, State of California of recordation of lien; Recorder's instrument number or document recording number:
          2017000058851; 2019000023095; 2019000183839, respectively.

3.        Collateral: Street address, legal description and/or map/book/page number, including county of recording:
          8 Snapdragon St, Ladera Ranch, California 92694.    See attached page.

          Real property in the unincorporated area of the County of Orange, State of California, described as follows:

          PARCEL NO. 1

          LOT 66 OF TRACT NO. 16105, AS SHOWN ON A SUBDIVISION MAP ("MAP") FILED ON OCTOBER 22, 2001, IN BOOK
          823, AT PAGES 18 TO 26, INCLUSIVE, OF MISCELLANEOUS MAPS, IN THE OFFICE OF THE ORANGE COUNTY
          RECORDER.

          EXCEPTING FROM THE PROPERTY, ALL OIL, OIL RIGHTS, MINERALS, MINERALS RIGHTS, NATURAL GAS RIGHTS
          AND OTHER HYDROCARBONS BY WHATSOEVER NAME KNOWN, GEOTHERMAL STEAM, AND ALL PRODUCTS
          DERIVED FROM ANY OF THE FOREGOING, THAT MAY BE WITHIN OR UNDER THE PROPERTY, TOGETHER WITH
          PERPETUAL RIGHT OF DRILLING, MINING, EXPLORING AND OPERATING THEREFOR, AND STORING IN AND
          REMOVING THE SAME FROM SAID PROPERTY OR ANY OTHER LAND, INCLUDING THE RIGHT TO WHIPSTOCK OR
          DIRECTIONALLY DRILL AND MINE FROM LANDS OTHER THAN THE PROPERTY, OIL OR GAS WELLS, TUNNELS
          AND SHAFT INTO, THROUGH OR ACROSS THE SUBSURFACE OF THE PROPERTY, AND TO BOTTOM SUCH
          WHIPSTOCKED OR DIRECTIONALLY DRILLED WELLS, TUNNELS AND SHAFTS UNDER AND BENEATH OR BEYOND
          THE EXTERIOR LIMITS THEREOF, AND TO REDRILL, RETUNNEL, EQUIP, MAINTAIN, REPAIR, DEEPEN AND
          OPERATE ANY SUCH WELLS OR MINES, WITHOUT, HOWEVER, THE RIGHT TO DRILL, MINE, STORE, EXPLORE AND
          OPERATE THROUGH THE SURFACE OR THE UPPER FIVE HUNDRED (500) FEET OF THE SUBSURFACE OF THE
          PROPERTY, AS RESERVED BY LADERA DEVELOPMENT COMPANY, L.L.C. IN THE DEED RECORDED DECEMBER
          10, 1996 AS INSTRUMENT NO. 19960624029, OF OFFICIAL RECORDS OF ORANGE COUNTY, CALIFORNIA
          ("OFFICIAL RECORDS").

          ALSO EXCEPTING FROM THE PROPERTY, ANY AND ALL WATER, WATER RIGHTS OR INTERESTS THEREIN
          APPURTENANT OR RELATING TO THE PROPERTY OR OWNED OR USED BY LADERA DEVELOPMENT COMPANY,
          L.L.C. IN CONNECTION WITH OR WITH RESPECT TO THE PROPERTY (NO MATTER HOW ACQUIRED BY LADERA
          DEVELOPMENT COMPANY, L.L.C.), WHETHER SUCH WATER RIGHTS SHALL BE RIPARIAN, OVERLYING,
          APPROPRIATIVE, LITTORAL, PERCOLATING, PRESCRIPTIVE, ADJUDICATED, STATUTORY OR CONTRACTUAL,
          TOGETHER WITH THE RIGHT AND POWER TO EXPLORE, DRILL, REDRILL, REMOVE AND STORE THE SAME FROM
          OR IN THE PROPERTY OR TO DIVERT OR OTHERWISE UTILIZE SUCH WATER, RIGHTS OR INTEREST ON ANY
          OTHER PROPERTY OWNED OR LEASED BY LADERA DEVELOPMENT COMPANY, L.L.C.; BUT WITHOUT HOWEVER,
          ANY RIGHT TO ENTER UPON THE SURFACE OF THE PROPERTY OR THE UPPER ONE HUNDRED (100) FEET OF
          THE SUBSURFACE OF THE PROPERTY IN THE EXERCISE OF SUCH RIGHTS IN ANY AREA THAT MAY BE
          DEVELOPED UNDER GOVERNMENTAL LAWS, ORDINANCES OR REGULATIONS, AS RESERVED BY LADERA
          DEVELOPMENT COMPANY, L.L.C., IN THE DEED RECORDED DECEMBER 10, 1996 AS INSTRUMENT NO.
          19960624029 OF OFFICIAL RECORDS.

          PARCEL NO. 2

          NON-EXCLUSIVE EASEMENTS FOR ACCESS, INGRESS, EGRESS, USE AND ENJOYMENT, DRAINAGE,
          ENCROACHMENT, MAINTENANCE AND REPAIRS, ALL AS DESCRIBED IN THE MASTER DECLARATION OF
          COVENANTS, CONDITIONS, RESTRICTIONS AND RESERVATION OF EASEMENTS FOR LADERA RANCH ("MASTER
          DECLARATION"), RECORDED JUNE 18, 1999 AS INSTRUMENT NO. 19990456273, AND THE SUPPLEMENTAL
          MASTER DECLARATION OF COVENANTS, CONDITIONS, RESTRICTIONS AND RESERVATION OF EASEMENTS FOR
          PHASE 5 OF SAVANNAH, RECORDED MAY 13, 2002 AS INSTRUMENT NO. 20020398478, AND AMENDED BY THE
          FIRST AMENDMENT TO SUPPLEMENTAL MASTER DECLARATION OF COVENANTS, CONDITIONS, RESTRICTIONS
          AND RESERVATION OF EASEMENTS FOR PHASE 5 OF SAVANNAH, RECORDED JULY 18, 2002 AS INSTRUMENT
          NO. 20020598706 (COLLECTIVELY THE "SUPPLEMENTAL DECLARATION"), OF OFFICIAL RECORDS OF ORANGE
          COUNTY, CALIFORNIA, AND THE MAP.


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          PARCEL NO. 3

          A SIDEYARD EASEMENTS AS APPLICABLE, FOR SIDEYARD PURPOSES OVER A PORTION OF THE LOT ADJOINING
          AND ABUTTING THE PROPERTY AS SHOWN AND DESCRIBED IN THE SUPPLEMENTAL DECLARATION, SUBJECT
          TO THE USE RESTRICTIONS SET FORTH IN THE SUPPLEMENTAL DECLARATION.

          APN: 759-591-04

4.        Secured Claim Amount
             a. Value of Collateral: .......................................................................................... $580,000.00
             b. Amounts of Senior Liens (reducing equity in the property to which the Subject Lien can attach):
                     (1) First lien: ................................................................... ($672,564.05)
                     (2) Second lien: .............................................................. ($                    )
                     (3) Third lien: .................................................................. ($                 )
                     (4) Additional senior liens (attach list): ............................ ($                             )
             c. Amount of Debtor's exemption(s): ........................................... ($1.00)
             d. Subtotal: ....................................................................................................... ($672,565.05)
             e. Secured Claim Amount (negative results should be listed as -$0-): .............. -$0.00-

               Unless otherwise ordered, any allowed claim in excess of this Secured Claim Amount is to be treated as a
               nonpriority unsecured claim and is to be paid pro rata with all other nonpriority unsecured claims (in Chapter
               13 cases, Class 5A of the Plan).

5.        Lien avoidance: Debtor’s request to avoid the Subject Lien is granted as follows. The fixing of the Subject
          Lien impairs an exemption to which Debtor would otherwise be entitled under 11 U.S.C. § 522(b). The Subject
          Lien is not a judicial lien that secures a debt of a kind that is specified in 11 U.S.C. § 523(a)(5) (domestic support
          obligations). The Subject Lien is void and unenforceable except to the extent of the Secured Claim Amount, if
          any, listed in paragraph 4.e. above.

     See attached page(s) for more liens/provisions.




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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
120 Vantis Dr Suite 300, Aliso Viejo, CA 92656


A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On January
30, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Thomas H Casey (TR) (msilva@tomcaseylaw.com, thc@trustesolutions.net)
Christina J Khil on behalf of Creditor CALIBER HOME LOANS, INC. (christinao@mclaw.org, CACD_ECF@mclaw.org;
mcecfnotices@ecf.courtdrive.com)
Sabari Mukherjee on behalf of Interested Party (notices@becket-lee.com)
Valerie Smith on behalf of Interested Party (claims@recoverycorp.com)
Jeffrey Speights on behalf of Ladera Ranch Maintenance Corp. (jeffs@attorneyforhoa.com, jeffreyspeights@gmail.com)
United States Trustee (SA) (ustpregion16.sa.ecf@usdoj.gov)



                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On January 30, 2020, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Debtor: Collin Gibellino, 8 Snapdragon, Ladera Ranch, CA 92694



                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on January 30, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Honorable Catherine E. Bauer, 411 West Fourth Street, Suite 5165, Santa Ana, CA 92701-4593



                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 January 30, 2020              Derik Lewis                                                     /s/ Derik Lewis
 Date                          Printed Name                                                    Signature


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Ladera Ranch Maintenance Corp
Attn: Joe W Ribotto, CEO
15241 Laguna Canyon Road
Irvine, CA 92618

Ladera Ranch Maintenance Corp
c/o FirstService Agent Corporation
15241 Laguna Canyon Road
Irvine, CA 92618

Citibank (South Dakota) N.A.
Attn: Barbara J. Desoer, CEO
701 East 60th Street North
Sioux Falls, SD, 57104-0493

Alexander & Veronica Z
c/o County of Orange – Accounting Unit
P.O. Box 10260
Santa Ana, CA 92711

Felicia M
c/o County of Orange – Accounting Unit
P.O. Box 10260
Santa Ana, CA 92711

Melissa H
c/o County of Orange – Accounting Unit
P.O. Box 10260
Santa Ana, CA 92711

Shelly M
c/o County of Orange – Accounting Unit
P.O. Box 10260
Santa Ana, CA 92711

Orange County Probation Department
1055 N. Main Street
Santa Ana, CA 92701

County of Orange
Orange County Executive Office
Attn: Frank Kim, CEO
333 W Santa Ana Blvd
Santa Ana, CA 92701

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346
